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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 15-8162-GW(FFMx)                                           Date      February 21, 2019
 Title             Thomas J. Kennis v. Metropolitan West Asset Management, LLC




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                 IN CHAMBERS - ORDER


Attached hereto is the Court’s Tentative Ruling on Plaintiff’s Motion to Reconsider January 22, 2019
Order Granting Defendant’s Application to Seal Trial Transcripts. Counsel are to be prepared to discuss
at tomorrow’s hearing.




                                                                                                   :
                                                               Initials of Preparer   JG
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   Kennis v. Metropolitan West Asset Management, LLC; Case No. 2:15-cv-08162-GW-(FFMx)
   Tentative Ruling on Plaintiff’s Motion to Reconsider January 22, 2019 Order Granting
   Defendant’s Application to Seal Trial Transcripts



          The Court previously signed a proposed order proffered by Defendant, ruling that certain
   portions of the trial transcripts would be redacted for compelling reasons shown in Defendant’s
   application to seal the transcripts. See Order on Defendant’s Application for Leave to File
   Records Under Seal in Connection with Trial Transcripts, Docket No. 437. Plaintiff filed a
   motion to reconsider the Court’s order. See Plaintiff’s Motion to Reconsider January 22, 2019
   Order Granting Defendant’s Application to Seal Trial Transcripts (“Motion”), Docket No. 439.
   Defendant filed an opposition. See Defendant’s Opposition to Plaintiff’s Motion to Reconsider
   January 22, 2019 Order Granting Defendant’s Application to Seal Trial Transcripts (“Opp’n”),
   Docket No. 457.
           In Plaintiff’s three-page MTR, he argues that redaction of the trial transcripts is not
   appropriate. See MTR at 2. Plaintiff asserts that the Court previously granted Defendant’s
   limited request to preclude certain dollar amounts of profit sharing with Portfolio Managers and
   the public display on the monitors of documents with those dollar amounts, but if Defendant
   wished the Court to shield other material from the public it should have move before trial rather
   than after. See id. Plaintiff points out that the Pre-Trial Order “does not govern the use of
   Protective Material at trial” and instead, “[a]ny use of Protected Material at trial shall be
   governed by the orders of the trial judge . . . .” See Modified Stipulated Protective Order, Docket
   No. 81. Plaintiff further argues that financial information is the center of any § 36(b) lawsuit and
   that many public decisions discuss an adviser’s profitability. See id. at 3. In addition, Plaintiff
   argues that Defendant’s proposed order that was signed sought more relief than the initial
   application requested, providing for redactions to afternoon transcripts in the motion but also to
   morning transcripts in the proposed order. See id. at 1. Plaintiff also argues that the Court
   lacked his opposition to the application to seal when making a decision. See id.
            In Opposition, Defendant argues that the MTR should be denied for failure to actually
   establish a basis for reconsideration under L.R. 7-18 and for failure to comply with meet-and-
   confer requirements under L.R. 7-3. See Opp’n at 1 n.1. Defendant assert that the parties have
   routinely permitted parties to seal certain confidential information in this case based on the harm
   that Defendant would face if that information were publicly available. See id. at 2. Defendant
   further argues that only sought to redact limited information from the transcripts, rather than
   attempting to keep the transcripts sealed in their entirety. See id. at 3. Defendant makes a
   number of other arguments throughout the Opposition, and it points to numerous decisions where
   district courts sealed limited portions of trial transcripts in a similar manner as was requested
   here. See Opp’n at 8 n.3 (collecting cases).
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           The Court recognizes that Plaintiff failed to meet-and-confer1 under L.R. 7-3, which
   gives reason for the Court to decline to consider the MTR. See L.R. 7-4 (“The Court may
   decline to consider a motion unless it meets the requirements of L.R. 7-3 [which included the
   meet-and-confer requirement] through 7-8”). Also, Plaintiff cites to no specific basis for
   reconsideration under L.R. 7-18 other than merely citing to the local rule as a whole. See
   generally MTR; MTR Opp’n. The Court would discuss the MTR with the parties at the
   February 22, 2019 and make a ruling from the bench.
    




                                                               
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             Based on Defendant’s representations and Plaintiff’s lack of reply asserting otherwise, the Court would
   conclude that Plaintiff failed to meet-and-confer. See Opp’n at 1 n.1; see also Declaration of Jonathan Ference-
   Burke ¶ 15, Docket No. 457-1.
